                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-02335-MSK-KLM

OMAR KALIL HASSAN,
                       Plaintiff,
       v.
MACHELLE WILLIBY, in her individual capacity; and
LISA CALCAMUGGIO, in her individual capacity,
                       Defendants.
______________________________________________________________________________

              JOINT MOTION TO MODIFY SCHEDULING ORDER
______________________________________________________________________________

       The Parties, by and through undersigned counsel, hereby submit this Joint Motion to

Modify Scheduling Order. The Parties respectfully request that the Court extend all deadlines in

the Scheduling Order entered in this case by approximately one month, with each deadline being

extended to the date specified below. In support of this Motion, the Parties state as follows:

       1.      The Court entered the Scheduling Order in this case on January 11, 2018 [ECF

No. 18]. The Order contains the following deadlines:

               a. The Parties shall designate all experts and provide opposing counsel with all

                   information specified in Fed. R. Civ. P. 26(a)(2) on or before April 12, 2018.

               b. The Parties shall designate all rebuttal experts and provide opposing counsel

                   with all information specified in Fed. R. Civ. P. 26(a)(2) on or before May 29,

                   2018.

               c. Discovery Cut-off: July 11, 2018.

               d. Dispositive Motion Deadline: August 10, 2018.
       2. The parties participated in the April 4, 2018 Settlement Conference. The Settlement

            Conference was productive in making progress toward settlement and the parties,

            facilitated by Judge Mix, have engaged in continued settlement discussions which

            have been fruitful. The parties are optimistic a resolution will be reached in the

            upcoming weeks.       Therefore, the Parties request an approximately one-month

            extension of all existing deadlines as follows:

               a. The Parties shall designate all experts and provide opposing counsel with all

                   information specified in Fed. R. Civ. P. 26(a)(2) on or before May 14, 2018.

               b. The Parties shall designate all rebuttal experts and provide opposing counsel

                   with all information specified in Fed. R. Civ. P. 26(a)(2) on or before June 29,

                   2018.

               c. Discovery Cut-off: August 10, 2018.

               d. Dispositive Motion Deadline: September 10, 2018.

       3.   The relief requested herein is in the interest of judicial economy and preserving the

            resources of the parties.

       4. Pursuant to D.C.COLO.LCivR 6.1(c), counsel for the parties certify that a copy of

            this Motion has been provided to their respective clients.


WHEREFORE, the Parties request that the Court grant their Joint Motion to Amend Scheduling

Order and extend all deadlines in the Scheduling Order to the dates listed above.




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Respectfully submitted this 12th day of April, 2018.

s/ Adam B. Stern                                   s/ Jonathan M. Abramson
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Rebecca T. Wallace                                 Jordan C. Lubeck
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